

People v Keane (2024 NY Slip Op 06526)





People v Keane


2024 NY Slip Op 06526


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024

PRESENT: SMITH, J.P., BANNISTER, OGDEN, GREENWOOD, AND DELCONTE, JJ. (Filed Dec. 20, 2024.) 


MOTION NO. (856/19) KA 20-01033.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTIMOTHY C. KEANE, DEFENDANT-APPELLANT. (APPEAL NO. 2.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis and other relief denied.








